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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                            ANDERSON/GREENWOOD DIVISION

    UNITED STATES OF AMERICA,              )             Case No. 8:19-CR-00181-DCC
                                           )
             Plaintiff,                    )
                                           )
             v.                            )
                                           )
    JAMAL DEMARCUS LATIMER,                )
                                           )
             Defendant.                    )
    _______________________________________)

                                     MOTION TO QUASH

         The United States of America, by and through the undersigned counsel and on behalf of

Assistant United States Attorney (AUSA) Leesa Washington of the United States Attorney’s

Office in the District of South Carolina, moves the Court for an order quashing the witness

subpoena issued by Defendant Jamal Demarcus Latimer commanding AUSA Washington to

appear and testify at Defendant’s sentencing hearing scheduled for August 18, 2020, at 1:00

p.m. 1

         The subpoena should be quashed because (1) Defendant has not identified the testimony

sought and its relevance to the proceedings as required by the Touhy regulations, (2) the

subpoena improperly seeks to make a federal prosecutor a witness in the case, and (3) the

subpoena seeks to discover privileged and confidential information. It is within the province of

this Court to decide the appropriate sentence. Any testimony from a former prosecutor on the




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  The sentencing hearing scheduled for August 18 has been canceled but is expected to be
rescheduled. This motion is being filed to address the pending subpoena as well as any
subsequent subpoena commanding AUSA Washington to appear and testify at a sentencing
hearing in this case.
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case has no bearing on that decision, and any documents filed by the government in this case

speak for themselves.

       For these reasons and those set forth below, the motion to quash should be granted.

                                       BACKGROUND

       AUSA Washington was the prosecutor on the above-referenced case until it was

discovered that the lead defendant, Detric Lee McGowan, hatched a plan to kill AUSA

Washington as well as two of his co-defendants, Donald Thomas and Defendant. When the plan

was uncovered in July 2019, AUSA Washington was recused from the case against McGowan,

and in late February 2020 was recused from the cases against the remaining twelve defendants,

including Defendant.

       Defendant’s presentence investigation report was filed on December 11, 2019. On

February 4, 2020, AUSA Washington filed four objections to the report. Those objections dealt

with the total drug weight attributable to Defendant and the application of enhancements under

the sentencing guidelines.

       On April 27, 2020, after Defendant’s case was transferred to a new AUSA, the

government withdrew the objections. On July 20, 2020, counsel for Defendant filed a sentencing

memorandum, and on August 10, 2020, the government filed a response.

       On August 11, 2020, counsel for Defendant served a subpoena via email on AUSA

Washington at the United States Attorney’s Office commanding her to appear and testify at

Defendant’s sentencing hearing scheduled for August 18, 2020 at 1:00 p.m. ECF No. 686; Ex.

A. On August 14, 2020, counsel sent a letter to the United States Attorney’s Office in an effort

to comply with the regulations governing the testimony of federal agents, commonly referred to

as Touhy regulations. Ex. B.



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       On August 14, 2020, the Court issued a text order canceling the sentencing hearing

scheduled for Tuesday, August 18, 2020, at 1:00 p.m. It is anticipated that the sentencing

hearing will be rescheduled and Defendant will serve a new subpoena on AUSA Washington.

                                           STANDARD

       The Federal Rules of Criminal Procedure address the quashing of subpoenas seeking the

production of documents and objects. Rule 17 states that “[o]n motion promptly made, the court

may quash or modify [a] subpoena if compliance would be unreasonable or oppressive.” Fed. R.

Crim. P. 17(c)(2). “A subpoena is unreasonable or oppressive if it is ‘excessively broad’ or

‘overly vague.’” United States v. Richardson, 607 F.3d 357, 368 (4th Cir. 2010) (quoting In re

Grand Jury, 478 F.3d 581, 584 (4th Cir. 2007)).

       The Federal Rules of Civil Procedure address the quashing of subpoenas more generally.

Rule 45 provides that “[o]n timely motion, the court for the district where compliance is required

must quash or modify a subpoena that: . . . (iii) requires disclosure of privileged or other

protected matter, if no exception or waiver applies; or (iv) subjects a person to undue burden.”

Fed. R. Civ. P. 45(d)(3).

       In both instances, the decision of whether to quash a subpoena is within the discretion of

the court. Richardson, 607 F.3d at 368.

                                           ARGUMENT

       1. Defendant has failed to comply with the Touhy regulations.

       The subpoena should be quashed because Defendant has failed to comply with the Touhy

regulations by failing to provide a written summary of the information sought and its relevance to

the proceedings.

       “Pursuant to 5 U.S.C. § 301, federal agencies may promulgate so-called Touhy

regulations to govern the conductions and procedures by which their employees may testify

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about work-related issues at trial.” United States v. Soriano-Jarquin, 492 F.3d 495, 504 (4th Cir.

2007) (citing United States ex rel. Touhy v. Ragen, 340 U.S. 462 (1951)). See also Boron Oil

Co. v. Downie, 873 F.2d 67, 70 (4th Cir. 1989) (explaining that the policy behind Touhy and the

related regulations is “to conserve governmental resources where the United States is not a party

to a suit, and to minimize governmental involvement in controversial matters unrelated to official

business”). “The Supreme Court has approved such [Touhy] regulations, holding that agencies

may legitimately promulgate regulations governing employee testimony and may, pursuant to

those regulations, forbid an employee to testify in a court proceeding.” Id.

       The regulations issued by the Department of Justice, 28 C.F.R. §§ 16.21 – 16.29, govern

requests for testimony relating to “information acquired by any person while such person was an

employee of the Department as a part of the performance of that person’s official duties or

because of that person’s official status.” 28 C.F.R. § 16.21. A party seeking to obtain such

testimony is required to provide a written summary of the information sought and its relevance to

the proceedings. See 28 C.F.R. § 16.23. Such Touhy requirements are “designed to enable

government agencies to make a determination regarding the release of confidential government

information that a defendant seeks to elicit at trial.” United States v. Rosen, 518 F. Supp. 2d 798,

800 n.5 (E.D. Va. 2007).

       The Fourth Circuit’s decision in Soriano-Jarquin is instructive. In that case, the

defendant sought to call a federal agent as a witness. The defendant failed to comply with the

agency’s Touhy regulations, and the district court granted the government’s motion to exclude

the testimony. The Fourth Circuit affirmed the district court’s decision, concluding that the

Touhy regulations applied to cases in which the United States was a party, and further holding

that the defendant’s failure to comply with the agency’s Touhy regulations provided a proper

basis for preventing the defendant from calling the agent as a witness. Id. at 504-05; see also

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United States v. Archer, No. 3:09-CR-59, 2010 WL 2633080, at 2 (E.D. Tenn. June 25, 2010)

(quashing trial subpoena served on federal agent due to failure to provide a written summary of

the testimony sought); United States v. Guild, No. 1:07-CR-404-JCC-, 2008 WL 169355, at *2

(E.D. Va. Jan. 15, 2008) (quashing subpoenas to federal employees due to failure to comply with

the agency’s Touhy regulations).

       Here, the subpoena should be quashed because Defendant has failed to provide a written

summary of the information sought and its relevance to the proceedings. To begin, the email

from counsel dated August 11 merely states: “I intend to question you on any conversations you

may have had with DEA agent Randy Smith in this case and any discussion/negotiations we had

regarding the objections to the PSR.” Id. The email does not summarize the information sought

or explain its relevance to the proceeding. The email is overly broad, vague, and irrelevant.

“Any conversations” AUSA Washington “may have had” with DEA agent Randy Smith in this

case is overly broad and vague and seeks information that is irrelevant.

       Further, any discussions or negotiations between counsel are irrelevant.

Communications between counsel are not evidence. The parties have filed documents setting

forth their respective positions. Any discussion or negotiations leading up to those filings are

irrelevant and should not be considered by the Court in making a sentencing determination. The

documents speak for themselves. Finally, the email says nothing about how the testimony

sought is relevant to the Court’s determination of the appropriate sentence.

       Similarly, the letter dated August 14 fails to summarize the information sought and its

relevance to the proceedings. The letter states that defense counsel seeks to discover

“conversations Ms. Washington had with DEA Agent Randy Smith on topics that are not case

specific.” Ex. B. Conversations that AUSA Washington had with DEA Agent Randy Smith that



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are not case specific have no relevance to the sentencing hearing in this case. The summary is

overly broad and encompasses information unrelated to the present case.

       The letter further states it seeks “testimony that may support allegations of statements by

government agents during the course of this action.” This statement inconsistent with the prior

sentence in the letter, which represents that defense counsel is seeking testimony “on topics that

are not case specific.” In addition, the statement is overly broad and vague and does not provide

enough information for the government to be able to assess the relevance, if any, that the

testimony has to the sentencing hearing. Moreover, the letter references the government’s court

filings but does not explain how those filings relate to the testimony sought from AUSA

Washington. In any event, documents filed by the government speak for themselves, and as

explained further below, it is improper to attempt to discover the rationale behind those filings or

the statements made therein.

       Because the August 11 email and August 14 letter fail to summarize information sought

and its relevance to the proceedings, the United States Attorney’s Office has not authorized

AUSA Washington to testify at the sentencing hearing. Accordingly, AUSA Washington is

prohibited from testifying at Defendant’s sentencing hearing. See 28 C.F.R. § 16.28.

       The subpoena should be quashed.

       2. The subpoena improperly seeks to turn a prosecutor into a fact witness.

       In addition to failing to comply with the Touhy regulations, the subpoena should be

quashed because it improperly seeks to turn a prosecutor into a fact witness.

       Courts uniformly disfavor attempts to obtain discovery through attorneys on a case. For

example, “[t]he practice of deposing opposing counsel . . . is generally disfavored in federal

courts.” Sterne Kessler Goldstein & Fox, PLLC v. Eastman Kodak Co., 276 F.R.D. 376, 380

(D.D.C. 2011). As one court noted, “[a]ny time a deposition notice names an opposing party’s

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attorney – current or former – as the deponent, red flags go up.” Williams v. Wellston City Sch.

Dist., No. 09-cv-566, 2010 WL 4513818, at *3 (S.D. Ohio Nov. 2, 2010). “Questioning the

attorney on the other side of the case implicates the attorney-client relationship, threatens to

intrude on the attorney-client privilege, jeopardizes the attorney’s work product, and raises the

question of whether the attorney must withdraw.” Id. The “potential to use such a request for

improper purposes is also great.” Id.

       Accordingly, a party may depose opposing counsel only if “the party seeking to take the

deposition has shown that (1) no other means exist to obtain the information than to depose

opposing counsel; (2) the information sought is relevant and nonprivileged; and (3) the

information sought is crucial to the preparation of the case.” Shelton v. Am. Motors Corp., 805

F.2d 1323, 1327 (8th Cir. 1986) (citation omitted).

       In the present case, Defendant cannot satisfy any factors that would justify putting AUSA

Washington on the witness stand at the sentencing hearing. Communications between AUSA

Washington and defense counsel are irrelevant. Communications between AUSA Washington

and federal agents concerning this case are privileged. Defense counsel has failed to explain

how the information sought is relevant to the proceedings, much less crucial to the Court’s

sentencing determination. Defendant has further failed to establish that AUSA Washington is

the sole source of the information.

       Moreover, testimony related to documents filed on behalf of the government is

unnecessary, unduly burdensome, and not probative of any fact relevant to the sentencing

determination. Defendant should not be able to probe the rationale behind those filings. By

issuing the subpoena, Defendant is improperly attempting to turn AUSA Washington into a fact

witness without identifying what facts she has that no other witness in the case is able to provide,

and how those facts are relevant to the sentencing hearing. Similarly, defense counsel is free to

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make arguments related to conversations she had with AUSA Washington, and it is within the

province of the Court to decide whether those conversations are relevant to the determination of

the appropriate sentence.

       Because the subpoena improperly seeks to make AUSA Washington a witness in this

case, without meeting the high burden for doing so, the subpoena should be quashed.

       3.        The subpoena seeks to discover privileged and confidential information.

       A final reason to quash the subpoena is that the subpoena seeks to discover privileged

and confidential information.

       Rule 16(a)(2) of the Federal Rules of Criminal Procedure prohibits “the discovery or

inspection of reports, memoranda, or other internal government documents made by an attorney

for the government or other government in connection with investigating or prosecuting the

case.” Fed. R. Crim. P. 16(a)(2). This rule incorporates the work product doctrine, which

protects information prepared in anticipation of litigation. See U.S. v. Nobles, 422 U.S. 225,

237-38 (1975).

       “At its core, the work-product doctrine shelters the mental processes of the attorney,

providing a privileged area within which he can analyze and prepare his client’s case.” Nobles,

422 U.S. at 238. “But the doctrine is an intensely practical one, grounded in the realities of

litigation in our adversary system.” Id. “One of those realities is that attorneys often must rely

on the assistance of investigators and other agents in the compilation of materials in preparation

for trial.” Id. “It is therefore necessary that the doctrine protect material prepared by agents for

the attorney as well as those prepared by the attorney himself.” Id.

       Additionally, courts have recognized a law enforcement privilege. “The purpose of this

privilege is to prevent disclosure of law enforcement techniques and procedures, to preserve

confidential sources, to protect witnesses and law enforcement personnel, to safeguard the

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privacy of individuals involved in an investigation, and otherwise to prevent interference with an

investigation.” Hugler v. BAT Masonry Co., Inc., No. 6:15-cv-28, 2017 WL 1207847, at * 4

(W.D. Va. 2017) (quoting In re Dep’t of Investigation of City of New York, 856 F.2d 481, 484

(2d Cir. 1988)).

        “The law enforcement privilege is qualified and the court must balance the public

interest in nondisclosure against the need of a particular litigant for access to the privileged

information.” Hugler, at *4 (quoting In re City of New York, 607 F.3d 923, 944 (2d Cir. 2010)

(internal quotation marks omitted)). “There is a strong presumption against lifting the privilege,

and to rebut the presumption, the party seeking disclosure must show (1) that its suit is non-

frivolous and brought in good faith, (2) that the information sought is not available through other

discovery from others sources, and (3) a compelling need for the information.” Hugler, at *4.

       Here, the testimony sought from AUSA Washington is privileged and confidential.

Conversations AUSA Washington may have had with DEA agent Randy Smith related to the

investigation and prosecution of this case are shielded from discovery by Rule 16(a)(2) and the

law enforcement privilege. Defendant has not and cannot set forth a compelling need for this

information. Likewise, any testimony related to the government’s filings in this case, the

rationale behind those filings, or any communications with federal agents regarding this case,

unless a Giglio or Brady obligation arises, are work product and are protected from disclosure.

                                          CONCLUSION

       The motion to quash should be granted. Defendant has failed to comply with the Touhy

regulations and the United States Attorney’s Office has not authorized the testimony. Defendant

should not be permitted to turn AUSA Washington into a witness in the case by serving her with

a subpoena. Moreover, the information sought is privileged and confidential. The documents

filed by the government speak for themselves.

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       A determination of the appropriate sentence in this case is within the province of this

Court. Testimony from an AUSA who was a former prosecutor on the case would serve no

useful purpose in a sentencing hearing.


                                                     Respectfully submitted,

                                                     PETER M. MCOY, JR.
                                                     United States Attorney

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August 17, 2020




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